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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 NANOCO TECHNOLOGIES LTD.,

                    Plaintiff,
                                                         C.A. NO. 2:20-cv-00038-JRG
        v.

 SAMSUNG ELECTRONICS CO., LTD., AND
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                    Defendants.



 PLAINTIFF’S UNOPPOSED MOTION TO DISMISS UNDER RULE 41 AND RULE 12

       In an effort to narrow its case and streamline and focus the issues for trial, Plaintiff Nanoco

Technologies Ltd. (“Nanoco”) voluntarily withdrew its assertion of all previously asserted claims

of U.S. Patent No. 8,524,365 (“the ’365 patent”). Additionally, as part of its case narrowing to

streamline trial, Nanoco voluntarily withdrew its assertion of previously asserted claims 1-13 of

U.S. Patent No. 7,588,828 (“the ’828 patent”) and previously asserted claims 7, 8, 12, 14, 15, 16,

18, 19, 20, 21, 22, 24, and 25 of U.S. Patent No. 7,803,423 (“the ’423 patent”).

       Accordingly, Nanoco moves under Rule 41(a)(2) to dismiss without prejudice the

Complaint’s Count I (Infringement of the ’828 Patent) as to claims 1-13, Count II (Infringement

of the ’423 Patent) as to claims 7, 8, 12, 14, 15, 16, 18, 19, 20, 21, 22, 24, and 25, and Count IV

(Infringement of the ’365 Patent). See Dkt. 1 at 9-12, 14-15. Nanoco also moves under Rule

12(b)(1) to dismiss Samsung’s associated counterclaims: First Counterclaim (Non-infringement

of the ’828 Patent) and Second Counterclaim (Invalidity of the ’828 Patent) as to claims 1-13;

Third Counterclaim (Non-infringement of the ’423 Patent) and Fourth Counterclaim (Invalidity of



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the ’423 Patent) as to claims 7, 8, 12, 14, 15, 16, 18, 19, 20, 21, 22, 24, and 25; and Seventh

Counterclaim (Non-infringement of the ’365 Patent) and Eighth Counterclaim (Invalidity of the

’365 Patent). See Dkt. 21 at 16-18, 20-21.

       Samsung does not oppose the motion.




DATED: September 7, 2022                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who have

consented to electronic service on this September 7, 2022. Local Rule CV-5(a)(3)(A).



                                                   /s/ Bradley W. Caldwell
                                                   Bradley W. Caldwell


                              CERTIFICATE OF CONFERENCE

       The undersigned certifies that the parties have complied with Local Rule CV-7(h)’s meet

and confer requirement and that Samsung does not oppose the relief requested herein.



                                                   /s/ Bradley W. Caldwell
                                                   Bradley W. Caldwell


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